         Case 1-20-43932-jmm       Doc 2     Filed 11/07/20     Entered 11/07/20 07:54:49




OFFIT KURMAN, P.A.
Michael T. Conway, Esq.
590 Madison Avenue, Sixth Floor
New York, New York 10016
Telephone: (929) 476-0041
Facsimile: (212) 545-1656
Michael.Conway@OffitKurman.com

Proposed Counsel for Debtor and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____________________________________________

In re:                                                        Case No:

FANCHEST, INC.,                                               Chapter 11

                  Debtor.
___________________________________________

                       AFFIDAVIT OF JAMES WALTZ PURSUANT TO
                           LOCAL BANKRUPTCY RULE 1007-4

           I, James Waltz, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746:

          1.      I am the President and Chief Executive Officer of Fanchest, Inc., a Delaware

corporation (“Fanchest” or the “Debtor”). I am knowledgeable and familiar with the business and

financial affairs of the Debtor. I am above 18 years of age and I am competent to testify.

          2.      I submit this Affidavit in accordance with Rule 1007-4 of the Local Bankruptcy

Rules for the Eastern District of New York (the "Local Bankruptcy Rules") to assist this court (the

"Court") and parties in interest in understanding the circumstances that compelled the

commencement of this Chapter 11 Case and in support of (a) the Debtor’s petition for relief under

chapter 11 of the Bankruptcy Code.

          3.      Except as otherwise indicated, all facts set forth in this Affidavit are based upon

my personal knowledge, my discussions with other members of the Debtor’s management team


                                                  1
      Case 1-20-43932-jmm          Doc 2    Filed 11/07/20     Entered 11/07/20 07:54:49




and the Debtor’s advisors, my review of relevant documents and information concerning the

Debtor’s operations, financial affairs, and restructuring initiatives, or my opinions based upon my

experience and knowledge. I am authorized to submit this Affidavit on behalf of the Debtor.

       4.        On November 5, 2020 (the “Petition Date”), the Debtor commenced a case under

subchapter V of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

       5.        The Debtor is a small business debtor within the meaning of Bankruptcy Code §

101(51D).

       6.        The Debtor is not a single asset real estate debtor within the meaning of

Bankruptcy Code § 101(51B).

I.     The Debtor’s Business.

       7.        Until the filing of the present Bankruptcy Case, the Debtor’s business has

involved purchasing and reselling sports team-branded soft and hard consumer goods, primarily

holding these goods in third-party fulfillment centers and using these fulfillment centers to package

and ship the goods on sale.

II.    Events Leading to the Chapter 11 Case.

       8.        Due to the COVID-19 pandemic, business came to an abrupt stop for the Debtor.

       9.        Given the lack of sales, payments to the Debtor’s secured creditors and fulfillment

center partners became extremely problematic.

       10.       The fulfillment center holding a majority of the Debtor’s assets, Fosdick

Fulfillment Corporation, filled an interpleader action based on the claim that payments due had

not been received.

       11.       The Debtor began negotiating a resolution with its secured creditors, Phoenix

Growth Capital LLC and Helix Digital Inc. prepetition and believed it had reached a resolution;
       Case 1-20-43932-jmm        Doc 2     Filed 11/07/20     Entered 11/07/20 07:54:49




the parties had agreed to a process whereby the goods stored with Fosdick Fulfillment Corporation

would be moved to another fulfillment center and sold through a partnership between Phoenix

Growth Capital LLC and the Debtor with a percentage of sales used to pay down the debt owed to

Helix Digital Inc.

        12.     Unfortunately, it recently became clear that Phoenix Growth Capital LLC was

negotiating in bad faith and, in fact, it had secretly used this time to misappropriate the Debtor’s

PPP loan which it had previously acknowledged was not to be used for the purpose of paying this

obligation.

        13.     To make matters worse, last week it was discovered that the inventory held with

Molly Fulfillment & Packaging in Florida had improperly been taken and sold off without notice

to the Debtor and based on the above, the Debtor resolved to file this case (see Exhibit 1 hereto).

III.    The Objectives of this Chapter 11 Case.

        14.     The Debtor has filed this chapter 11 case to ensure a fair and equitable distribution

to its creditors and a continuation of the Debtor’s business post-reorganization.

        15.     The Debtor has built a well-respected brand with consumers and within the sports

retailing industry over several years, but hasn't utilized the ecommerce marketplaces such as

Amazon and Walmart.com. Moving forward, the Debtor intends to list and sell its existing and

future inventory predominantly through those marketplaces for maximum revenue and margin at

minimal upfront cost.

        16.     The Debtor will also look to partner with sports marketing teams, leagues and

relationships as a business to business gifting and fulfillment resource, with much higher revenue

per order values and higher long-term margin.

        17.     Moreover, the Debtor intends to litigate with Phoenix Growth Capital LLC
      Case 1-20-43932-jmm           Doc 2   Filed 11/07/20     Entered 11/07/20 07:54:49




concerning the improper taking of the Debtor’s PPP loan and over the fate of the inventory that is,

as of the date of this filing, held with Fosdick Fulfillment Corporation, and with Molly Fulfillment

& Packaging over the misappropriation of the inventory held in that fulfillment center.

       18.       Ultimately, the Debtor expects to recover an amount sufficient to pay its secured

creditors whatever is due on their claims and provide a dividend to the unsecured creditors.

IV.    Other Information Required by Local Rule 1007-4.

       19.       Jurisdiction and venue before this Court is proper. The principal place of business

of the Debtor is located in the State of New York, New York County. Specifically, all of the

Debtor’s personal property is located in the premises formerly leased at 320 Eighth Avenue New

York, New York 10019. This location has always served as its principal place of business.

       20.       No case has been previously commenced against the Debtor under chapters 7, 11,

or 13 of the Bankruptcy Code.

       21.       No creditors’ committee was organized before the Petition Date.

       22.       The Debtor’s secured the unsecured creditors excluding insiders are accurately set

forth in Schedules D, E and F, previously filed as Docket Number 1, which is incorporated here

by reference as if fully restated here.

       23.       The information with respect to each of the holders of the twenty (20) largest

unsecured claims, excluding insiders, is accurately set forth in the Debtor’s Form 204, previously

filed as Docket Number 1, which is incorporated here by reference as if fully restated here.

       24.       The information with respect to each of the holders of the five (5) largest secured

claims is accurately set forth in the Schedule D, previously filed as Docket Number 1, which is

incorporated here by reference as if fully restated here. The claims of Fosdick Fulfillment

Corporation and Phoenix Growth Capital LLC are in dispute.
      Case 1-20-43932-jmm            Doc 2   Filed 11/07/20      Entered 11/07/20 07:54:49




          25.    A summary of the Debtor's assets and liabilities are accurately set forth in Form

206Sum, previously filed as Docket Number 1, which is incorporated here by reference as if fully

restated here.

          26.    The Debtor has issued no classes of shares of stock, no debentures, or other

securities that are publicly held.

          27.    The Debtor’s property in the possession or custody of any custodian, public

officer, mortgagee, pledgee, assignee of rents, or secured creditor, or agent for any such entity,

includes approximately $1,5 million in inventory currently stored with Fosdick Fulfillment Corp.

and at issue in a pending interpleader action filed in the Connecticut Superior Court, Judicial

District of New Haven at Meriden, bearing case number NNI-CV20-6020421-S.

          28.    As described above and in Form 206G, previously filed as Docket Number 1,

which is incorporated here by reference as if fully restated here, there is Inventory storage and

fulfillment and shipping agreement that exists between Debtor and Fosdick Fulfillment Corp. and

approximately $1,5 million in inventory is currently stored with this entity.

          29.    The Debtor has significant assets currently stored with Fosdick Fulfillment

Corporation at its facility in Berlin, CT and had significant assets .

          30.    The Debtor’s books and records are currently at the Debtor’s headquarters in

Brooklyn, NY.

          31.    The Debtor does not have any assets held outside the territorial limits of the United

States.

          32.    Other than as set forth above, is no current known action or proceeding, pending

or threatened, against the Debtor or its property where a judgment against the Debtor or a seizure

of its property may be imminent.
      Case 1-20-43932-jmm          Doc 2     Filed 11/07/20     Entered 11/07/20 07:54:49




        33.      I am currently the sole officer and director of the Debtor. I am the individual who

serves as the Debtor’s existing senior management, I have served in this capacity since

approximately December 2019. I have served as senior executive to numerous advertising and

marketing technology companies over 25 years and servicing hundreds of ecommerce clients

during that tenure. I have also run Nextag Inc., a large ecommerce comparison shopping business.

        34.      As a result of the current pandemic, the Debtor was forced to furlough its only

employee other than me. Although the Debtor received money through the PPP loan program,

these funds were subsequently misappropriated by Phoenix Capital Management LLC. If the

Debtor can recover these funds, it will be able to rehire its former employee or hire someone in

their stead. Currently I am working without pay and so there is no expectation of that the Debtor

will incur payroll expense for the thirty (30) day period following the filing of the chapter 11

petition.

        35.      The Debtor does not expect to pay any amount for services for the 30-day period

following the filing of the chapter 11 petition.

        36.      Because the Debtor has ceased operations pending a resolution of its claims with

Fosdick Fulfillment and Phoenix Capital Growth, I do not expect any estimated cash receipts or

disbursements, net cash gain or loss, obligations or receivables to accrue but remaining unpaid,

other than professional fees, for the 30-day period following the filing of the chapter 11 petition.

        37.      The Debtor’s inventory is currently covered by the policy obtained by Fosdick

Fulfillment Corporation. Otherwise, the only policy of insurance currently in place relating to the

Debtor is a Directors and Officers Policy issued by Scottsdale Insurance Company, policy number

xxxxxx2091.

        38.      Currently, the only bank account held by the Debtor is its checking account with
     Case 1-20-43932-jmm       Doc 2    Filed 11/07/20     Entered 11/07/20 07:54:49




Silicon Valley Bank, 387 Park Ave. South, 2nd Floor, New York, NY 10016, account number

xxxxxx1622

      39.     No financial or business consultant has been retained as of yet by the Debtor.

 Dated: November 6, 2020

                                                   ___________________
                                                   James Waltz
Case 1-20-43932-jmm   Doc 2   Filed 11/07/20   Entered 11/07/20 07:54:49




                          EXHIBIT 1
      Case 1-20-43932-jmm         Doc 2    Filed 11/07/20     Entered 11/07/20 07:54:49




                          UNANIMOUS WRITTEN CONSENT OF
                            THE BOARD OF DIRECTORS OF
                                  FANCHEST, INC.

      The undersigned, being the sole director of Fanchest, Inc., a Delaware corporation (the
“Corporation”), by his signature below, hereby adopts the following resolutions on behalf of the
Corporation, pursuant to the General Corporation Law of the State of Delaware (the “General
Corporation Law”) and the By-laws of the Corporation (the “By-laws”):

       WHEREAS, having examined the alternatives presently available to the
       Corporation and concluded that there are no feasible alternatives for the protection
       and recovery of the Corporation’s assets other than the commencement of a case
       under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”),
       the Board of Directors has concluded that it is in the best interests of the
       Corporation and its creditors to proceed as described in these resolutions;

       NOW, THEREFORE, BE IT RESOLVED that, subject to the condition
       described below, a Petition under the provisions of Chapter 11 of the Bankruptcy
       Code shall be filed by the Corporation with the United States Bankruptcy Court for
       the Eastern District of New York, on November 6, 2020, or the first date possible
       thereafter; and be it

       FURTHER RESOLVED, that, subject to the condition described below, the
       following officer (the “Authorized Officer”)

       James Waltz - Chief Executive Officer

       hereby is authorized, empowered and directed on behalf of and in the name of the
       Corporation to execute a Chapter 11 bankruptcy petition and all related documents
       and papers on behalf of the Corporation in order to enable the Corporation to
       commence a Chapter 11 bankruptcy case and to cause the same to be filed with the
       United States Bankruptcy Court for the Eastern District of New York; and be it

       FURTHER RESOLVED that each of the Authorized Officer hereby is authorized,
       empowered and directed to execute and file all petitions, schedules, lists, and other
       papers in connection with the Corporation’s bankruptcy case, and to take any and
       all action which he may deem necessary and proper in connection with such
       bankruptcy case and to retain and employ legal counsel and any other professional
       or professionals which he may deem necessary and proper; and be it

       FURTHER RESOLVED that the Corporation may retain the law firm of Offit
       Kurman, P.A. as bankruptcy counsel for the Corporation for purposes of, among
       other things, representing the Corporation in connection with its Chapter 11 case,
       subject to Bankruptcy Court approval; and be it

       FURTHER RESOLVED that the Corporation may retain a consulting firm as

                                                1
Case 1-20-43932-jmm         Doc 2     Filed 11/07/20     Entered 11/07/20 07:54:49




 financial advisor to the Corporation for purposes of, among other things, advising
 the Corporation in connection with its Chapter 11 case, subject to Bankruptcy Court
 approval; and be it

 FURTHER RESOLVED, that the Authorized Officer of the Corporation hereby
 is authorized, empowered and directed to negotiate, execute and deliver, for and on
 behalf of the Corporation, agreements with potential lenders or other third parties,
 as appropriate, in form and substance satisfactory to such Authorized Officer (each,
 a “Loan Document” and collectively, the “Loan Documents”), providing for a
 debtor-in-possession credit facility (the “DIP Facility”) in such aggregate principal
 amount, and use of cash collateral on such terms, as the Authorized Officer shall
 deem necessary to finance its Chapter 11 case, for and on behalf and in the name
 of the Corporation, the execution and delivery thereof being conclusive evidence
 that such Loan Documents were executed pursuant to this resolution; and be it

 FURTHER RESOLVED, that the Authorized Officer of the Corporation hereby
 is authorized, empowered and directed to perform all acts and do all things which
 he may deem necessary or desirable to consummate the transactions contemplated
 by the Loan Documents, with such modifications, amendments or further
 agreements, promissory notes, deeds, assignments, bills of sale, deeds of trust,
 mortgages, security agreements, certificates and other agreements, instruments or
 documents as he, in his sole discretion, may deem necessary or desirable and in the
 best interest of the Corporation, his taking of any such action, for and on behalf and
 in the name of the Corporation, and/or his execution and delivery, for and on behalf
 and in the name of the Corporation, of any such agreement, instrument or document
 to be conclusive evidence that he did so deem the same to be necessary or desirable
 and in the best interest of the Corporation; and be it

 FURTHER RESOLVED, that the Authorized Officer of the Corporation hereby
 is authorized, empowered and directed to certify and attest any documents which
 he may deem necessary or appropriate to consummate the transactions contemplated
 by the Loan Documents; provided that such certification or attestation shall not be
 required for the validity of the particular document; and be it

 FURTHER RESOLVED, that the Authorized Officer hereby is authorized,
 empowered and directed, in the name and on behalf of the Corporation, to execute
 and deliver all such further documents, instruments, certificates or agreements, and
 to take all such further action and to incur and pay all such expenses, as such
 Authorized Officer may approve as necessary, proper, convenient or desirable in
 order to carry out the foregoing resolutions and fully to effectuate the purposes and
 intents thereof, the execution and delivery of any such documents, certificates,
 agreements or instruments, and the taking of any such action and the incurrence
 and payment of any such expenses, to be conclusive evidence that the same shall
 have been approved hereby; and be it

 FURTHER RESOLVED, that all actions taken by the officers of the Corporation
 to date, in connection with the foregoing resolutions or the transactions

                                           2
      Case 1-20-43932-jmm       Doc 2    Filed 11/07/20     Entered 11/07/20 07:54:49




       contemplated thereby, be, and each hereby is, confirmed, ratified and approved in
       all respects.

       This Unanimous Written Consent shall be filed in the Minute Book of the Corporation and
become a part of the records of the Corporation. This Unanimous Written Consent may be executed
in counterparts. A facsimile shall be deemed an original.

        IN WITNESS WHEREOF, the undersigned executed and delivered this Written Consent
 as of November 6, 2020.


                                     __________________
                                     James Waltz




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